Case 2:21-cv-04920-WLH-ADS    Document 434 Filed 08/30/24     Page 1 of 11 Page ID
                                   #:10292



   1   DAN MARMALEFSKY                          RONALD G. WHITE
       (CA SBN 95477)                           (admitted pro hac vice)
   2   DMarmalefsky@mofo.com                    RWhite@wmhwlaw.com
   3   Morrison & Foerster LLP                  Walden Macht Haran & Williams LLP
       707 Wilshire Boulevard                   250 Vesey Street
   4
       Los Angeles, California 90017-3543       New York, NY 10281
   5   Telephone: 213-892-5200                  Telephone: 212-335-2387
   6
       Facsimile: 213-892-5454                  Facsimile: 212-335-2040

   7   Attorneys for Defendant Bernd Bergmair
   8
                           UNITED STATES DISTRICT COURT
   9
                          CENTRAL DISTRICT OF CALIFORNIA
  10
  11
       SERENA FLEITES,                          Case No.: 2:21-cv-4920-WLH-ADS
  12                 Plaintiff,
  13       vs.                                  DEFENDANT BERND
                                                BERGMAIR’S APPLICATION
       MINDGEEK S.A.R.L., et al.,               FOR LEAVE TO FILE UNDER
  14
                                                SEAL MATERIAL DESIGNATED
  15                      Defendants.           AS CONFIDENTIAL PURSUANT
  16                                            TO A PROTECTIVE ORDER
  17                                            Date: November 22, 2024
                                                Time: 1:30 p.m.
  18                                            Courtroom: 9B
  19                                            Judge: Hon. Wesley L. Hsu
                                                Complaint Filed: June 17, 2021
  20
                                                Trial Date: None Set
  21
  22
  23
  24
  25
  26
  27
  28




         DEFENDANT BERND BERGMAIR’S APPLICATION FOR LEAVE TO FILE UNDER SEAL MATERIAL
                 DESIGNATED AS CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
Case 2:21-cv-04920-WLH-ADS      Document 434 Filed 08/30/24        Page 2 of 11 Page ID
                                     #:10293



   1          Pursuant to Local Rule 79-5.2.2 and the Stipulated Protective Order entered
   2   by this Court on October 14, 2022 (Dkt. 187), Defendant Bernd Bergmair hereby
   3   submits this Application for Leave to File Under Seal Material Designated as
   4   Confidential Pursuant to a Protective Order.       In support of this Application,
   5   Bergmair states as follows:
   6          1.     This application seeks leave to file under seal portions of the
   7   contemporaneously-filed Defendant Bernd Bergmair’s Motion to Dismiss the
   8   Second Amended Complaint (“Bergmair Motion to Dismiss”) and the Declaration
   9   from Ronald G. White in support of that motion (“White Declaration”), which
  10   contain and/or attach materials designated as Confidential or Highly Confidential by
  11   Bergmair and other parties pursuant to the Protective Order in this case (ECF No.
  12   187), or which reference portions of the Second Amended Complaint (“SAC”)
  13   which are filed under seal or portions of the Declaration of Andreas Andreou,
  14   submitted in support of the MindGeek Entity Defendants’ Motion to Dismiss
  15   (“Andreou Declaration”).1
  16          2.     Specifically, as set forth below, Bergmair requests that the following
  17   be filed under seal, in whole or in part: (a) White Declaration Exhibits A-C, E-J, and
  18   L-P and (b) portions of the Bergmair Motion to Dismiss which refer to the contents
  19   of those exhibits, sealed portions of the SAC, or portions of the Andreou Declaration
  20   subject to an application for leave to file under seal filed by the MindGeek Entity
  21   Defendants.
  22          3.     The Protective Order allows a party to designate material that it
  23   produces as “Confidential” if it qualifies for protection under Fed. R. Civ. P. 26(c),
  24   or as otherwise provided for in a party’s good cause statement.
  25
  26
       1
  27     We understand that the MindGeek Entity Defendants will seek leave to file under
       seal portions of the Andreou Declaration, including portions relied on in the Bergmair
  28
       Motion to Dismiss.
                                                1
           DEFENDANT BERND BERGMAIR’S APPLICATION FOR LEAVE TO FILE UNDER SEAL MATERIAL
                   DESIGNATED AS CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
Case 2:21-cv-04920-WLH-ADS         Document 434 Filed 08/30/24       Page 3 of 11 Page ID
                                        #:10294



   1   I.      Material Designated by Bergmair as Confidential or Highly Confidential
   2           4.       During the course of jurisdictional discovery, Bergmair designated as
   3   “Confidential” the transcript of the deposition of Bernd Bergmair, dated June 15,
   4   2023 (excerpts of which are submitted as White Decl. Ex. A) and designated as
   5   “Highly Confidential” the Share Purchase Agreement dated January 30, 2023, as
   6   amended on March 15, 2023 (produced as Bergmair_Fleites_00002694) (excerpts
   7   of which are submitted as White Decl. Ex. E).
   8           5.       Exhibit P to the White Declaration also includes the Declaration of
   9   Bernd Bergmair, dated August 30, 2024, portions of which discuss the same matters
  10   as the discovery materials designated as confidential.
  11           6.       Bergmair seeks to seal (a) portions of Exhibit A; (b) Exhibit E in its
  12   entirety; (c) portions of Exhibit P; and (d) portions of the Bergmair Motion to
  13   Dismiss which refer to the contents of those exhibits or to sealed portions of the
  14   SAC.         The designated information constitutes personal financial information
  15   regarding his investment in a private company. This includes (1) the amount of
  16   money he invested in MindGeek, (2) the shareholding and economic interests and
  17   other rights he received (and exercised) in exchange for his investment; (3) the
  18   identity of the corporate entities through which he invested; and (4) his receipt of
  19   dividends as a result of his investment. Specifically, Bergmair requests that the
  20   following excerpts be filed under seal:
  21
  22
  23
  24
  25
  26
  27
  28
                                                 2
            DEFENDANT BERND BERGMAIR’S APPLICATION FOR LEAVE TO FILE UNDER SEAL MATERIAL
                    DESIGNATED AS CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
Case 2:21-cv-04920-WLH-ADS      Document 434 Filed 08/30/24        Page 4 of 11 Page ID
                                     #:10295



   1       MATERIAL REQUESTED FOR SEALING                              REASON
          Ex. A at 72, 73, 76, 77, 106-107, 161, 163 and        Amount      of   money
   2      corresponding references to the contents of this      Bergmair invested in
   3      material in the Bergmair Motion to Dismiss            MindGeek
          Ex. A at 67, 68, 69, 91, 96, 97, 98, 99, 100, 101,    Bergmair’s shareholding
   4      102, 103, 105, 108, 109, 110, 117, 122, 126, 127,     and economic interests
   5      128, 130, 131, 135, 136, 137, 138, 139, 140, 141,     and other rights he
          147, 148, 150, 151, 152, 158, 159, 163, 178, 179,     received in exchange for
   6      193, 194, 195, 197, 198, 200, 201, 207, 208, 218,     his investment
   7      234, 235, 237, 238, 239, 240, 241, 257 and
          corresponding references to the contents of this
   8      material in the Bergmair Motion to Dismiss; Ex.
   9      P at ¶¶ 5-7 and corresponding references to the
          contents of this material in the Bergmair Motion
  10      to Dismiss
  11      Ex. A at 108, 109, 120, 126, 127, 128, 130, 136,      The identity of corporate
          137, 163 and corresponding references to the          entities through which
  12      contents of this material in the Bergmair Motion      Bergmair invested
  13      to Dismiss; Ex. E and corresponding references to
          the contents of this material in the Bergmair
  14      Motion to Dismiss
  15      Ex. A at 135, 136, 137, 138, 139, 140, 141, 147,      Bergmair’s receipt of
          148, 150, 151, 152, 158, 159, 163, 164, 165 and       dividends as a result of
  16      corresponding references to the contents of this      his investment
  17      material in the Bergmair Motion to Dismiss; Ex.
          P at ¶ 11 and corresponding references to the
  18      contents of this material in the Bergmair Motion
  19      to Dismiss
  20         7.     The federal common law right to access public records is “not
  21   absolute.”   Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978).               In
  22   particular, “the common-law right of inspection has bowed before the power of a
  23   court to insure that its records are not used … as sources of business information that
  24   might harm a litigant’s competitive standing.” Id.
  25         8.     “[T]he Ninth Circuit has not stated the standard – good cause or
  26   compelling reasons – that applies to the sealing of a pleading. L.A. Int’l Corp. v.
  27   Prestige Brands Holdings, Inc., No. CV-18-6809-MWF(MRWx), 2018 WL
  28   6985313, at *1 (C.D. Cal. Nov. 6, 2018) (recognizing split of authority among the
                                              3
         DEFENDANT BERND BERGMAIR’S APPLICATION FOR LEAVE TO FILE UNDER SEAL MATERIAL
                 DESIGNATED AS CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
Case 2:21-cv-04920-WLH-ADS       Document 434 Filed 08/30/24        Page 5 of 11 Page ID
                                      #:10296



   1   district courts in the Ninth Circuit).
   2         9.     The “good cause” standard comes from Rule 26(c)(1), which sets forth
   3   the requirements for protective orders during discovery. Ctr. for Auto Safety v.
   4   Chrysler Grp., LLC, 809 F.3d 1092, 1097 (9th Cir. 2016). Rule 26(c)(1) provides,
   5   “The court may, for good cause, issue an order to protect a party or person from
   6   annoyance, embarrassment, oppression, or undue burden or expense.” Fed. R. Civ.
   7   P. 26(c).
   8         10.    “‘[C]ompelling reasons’ sufficient to outweigh the public’s interest in
   9   disclosure and justify sealing court records exist when such ‘court files might have
  10   become a vehicle for improper purposes,’ such as the use of records to gratify private
  11   spite, promote public scandal, circulate libelous statements, or release trade secrets.”
  12   Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006)
  13   (quoting Nixon, 435 U.S. at 598).
  14         11.    Bergmair’s narrowly tailored sealing request satisfies both standards.
  15         12.    Courts in this circuit have routinely held that confidential business and
  16   personal financial information—such as the amount of his investment, the
  17   shareholding and economic interests he received in return, his receipt of dividends
  18   and other details regarding his investment in a private company—satisfies the
  19   compelling reasons standard and warrants sealing. See Reputation.com, Inc. v.
  20   Mullarkey, No. 21-CV-07340-HSG, 2022 WL 4775881, at *2 (N.D. Cal. Sept. 30,
  21   2022) (Compelling reasons standard satisfied, in part, because the at-issue
  22   “documents contain confidential business and financial information relating to the
  23   terms of [a corporate] acquisition” which, “[i]f publi[shed], the terms of the
  24   agreement could be used against Plaintiff in future negotiations by potential
  25   acquirees or other entities competing against Plaintiff for such opportunities”);
  26   Monterey Bay Military Housing LLC v. Ambac Assurance Corp., 2019 WL
  27   11658748, at 2 (N.D. Cal. July 11, 2019) (finding “compelling reasons” to seal
  28   “documents [that] relate to financial transactions that were intended to be, and have
                                              4
         DEFENDANT BERND BERGMAIR’S APPLICATION FOR LEAVE TO FILE UNDER SEAL MATERIAL
                 DESIGNATED AS CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
Case 2:21-cv-04920-WLH-ADS      Document 434 Filed 08/30/24        Page 6 of 11 Page ID
                                     #:10297



   1   been, kept in confidence,” as well as “private financial and operational information”
   2   regarding business); Allianz Global Risks US Ins. Co. v. United States, 2021 WL
   3   3171862, at 2 (S.D. Cal. July 27, 2021) (finding “compelling reasons” to seal
   4   information from which “the potential economic value of [the designating party’s]
   5   business ventures can be deduced”); In re Qualcomm Litig., No. 3:17-CV-0108-
   6   GPC-MDD, 2017 WL 5176922, at *2 (S.D. Cal. Nov. 8, 2017) (compelling reasons
   7   exist to seal “confidential business information,” such as “confidential business
   8   agreements executed among the parties,” agreement terms, amounts paid under
   9   agreements, “financial terms,” details of negotiations, and “business strategies”);
  10   Finisar Corp. v. Nistica, Inc., No. 13-CV-03345-BLF(JSC), 2015 WL 3988132, at
  11   *4 (N.D. Cal. June 30, 2015) (party may meet burden under Local Rule 79-5 where
  12   party seeks to seal “proprietary and confidential business information,” including
  13   agreements reflecting “parties’ obligations and terms of payment”); see also Nguyen
  14   v. City of Garden Grove, No. 8:21-01775-JVS(ADSx), 2023 WL 2558536, at *4
  15   (C.D. Cal. Feb. 2, 2023) (during discovery, permitting redactions of private financial
  16   information such as “asset information”).
  17         13.    Bergmair notes that the information described above is the same or
  18   similar to the information that is redacted in Plaintiff’s Second Amended Complaint.
  19   II.   Material Designated as Confidential or Highly Confidential by Others
  20         14.    On August 27, 2024, Bergmair notified the MindGeek Entity
  21   Defendants, Feras Antoon, and David Tassillo of his intent to rely on the following
  22   exhibits in connection with his Motion to Dismiss the Second Amended Complaint,
  23   which have been previously designated as “Confidential” or “Highly Confidential”:
  24     White                        Description                        Designating
          Decl.                                                            Party
  25    Exhibit
  26     Letter
           A         Excerpts of the Transcript of the Deposition of      MindGeek
  27                    Bernd Bergmair, dated June 15, 2023 and            Entity
  28                 corresponding references to this material in the    Defendants
                              Bergmair Motion to Dismiss
                                              5
         DEFENDANT BERND BERGMAIR’S APPLICATION FOR LEAVE TO FILE UNDER SEAL MATERIAL
                 DESIGNATED AS CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
Case 2:21-cv-04920-WLH-ADS    Document 434 Filed 08/30/24       Page 7 of 11 Page ID
                                   #:10298



   1       B         Excerpts of the Transcript of the Deposition of    Feras Antoon;
                         Feras Antoon, dated June 14, 2023 and           MindGeek
   2                 corresponding references to this material in the       Entity
   3                          Bergmair Motion to Dismiss                 Defendants
           C         Excerpts of the Transcript of the Deposition of        David
   4                    David Tassillo, dated June 16, 2023 and           Tassillo;
   5                 corresponding references to this material in the    MindGeek
                              Bergmair Motion to Dismiss                    Entity
   6                                                                     Defendants
   7       F          Share Purchase Agreement dated January 20,        David Tassillo
                     2023 (produced as Tassillo_Fleites_00000851)
   8                and corresponding references to this material in
   9                         the Bergmair Motion to Dismiss
           G         Excerpts of the Transcript of the Deposition of     MindGeek
  10                   Andreas Andreou, dated June 14, 2023 and            Entity
  11                 corresponding references to this material in the    Defendants
                                Bergmair Motion to Dismiss
  12       H        Excerpts of the Shareholders’ Agreement, dated       MindGeek
  13                          October 18, 2013 (produced as                Entity
                   MindGeek_Fleites_00001814) and corresponding          Defendants
  14               references to this material in the Bergmair Motion
  15                                     to Dismiss
            I      Spreadsheet relating to Feras Antoon produced by      MindGeek
  16
                         the MindGeek Entity Defendants during             Entity
  17                       jurisdictional discovery (produced as         Defendants
                    MindGeek_Fleites00003003) and corresponding
  18
                   references to this material in the Bergmair Motion
  19                                     to Dismiss
            J       Spreadsheet relating to David Tassillo produced      MindGeek
  20
                       by the MindGeek Entity Defendants during            Entity
  21                       jurisdictional discovery (produced as         Defendants
                    MindGeek_Fleites00003006) and corresponding
  22
                   references to this material in the Bergmair Motion
  23                                     to Dismiss
  24       L          Excerpts of a MindGeek S.a. r. l. Confidential     MindGeek
                       Information Memorandum, dated July 2015             Entity
  25                 (produced as MindGeek_Fleites00008508) and          Defendants
  26                 corresponding references to this material in the
                                Bergmair Motion to Dismiss
  27       M          Excerpts of the Feras Antoon’s Responses to       Feras Antoon
  28               Plaintiff’s Request for Admissions, dated June 15,
                                              6
         DEFENDANT BERND BERGMAIR’S APPLICATION FOR LEAVE TO FILE UNDER SEAL MATERIAL
                 DESIGNATED AS CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
Case 2:21-cv-04920-WLH-ADS      Document 434 Filed 08/30/24        Page 8 of 11 Page ID
                                     #:10299



   1                     2023 and corresponding references to this
                        material in the Bergmair Motion to Dismiss
   2        N          Excerpts of the David Tassillo’s Responses to        David Tassillo
   3                 Plaintiff’s Request for Admissions, dated June 15,
                         2023 and corresponding references to this
   4                    material in the Bergmair Motion to Dismiss
   5        O            Excerpts of a spreadsheet produced by the            MindGeek
                     MindGeek Entity Defendants during jurisdictional           Entity
   6                               discovery (produced as                     Defendants
   7                  MindGeek_Fleites00066312) and corresponding
                     references to this material in the Bergmair Motion
   8                                      to Dismiss
   9         15.    Bergmair subsequently conferred with the MindGeek Entity
  10   Defendants, Antoon, and Tassillo. The MindGeek Entity Defendants, Antoon, and
  11   Tassillo have indicated their intent to request that the material – and references to
  12   the material in the Bergmair Motion to Dismiss – remain Confidential or Highly
  13   Confidential and under seal.
  14         16.    Bergmair has also conferred with the MindGeek Entity Defendants
  15   about references to the Andreou Declaration in the Bergmair Motion to Dismiss.
  16   The MindGeek Entity Defendants have indicated their intent to request that those
  17   references remain Confidential and under seal.
  18         17.    Local Rule 79-5.2.2 provides that where a Filing Party seeks to file a
  19   document containing information previously designated as confidential by another
  20   pursuant to a protective order, and the document cannot be suitably redacted by
  21   agreement, the Filing Party may file an Application for Leave to File Under Seal.
  22   The Rule further requires the Filing Party to confer with the Designating Party at
  23   least three days before seeking to file the document(s) under seal and, if sealing
  24   remains necessary, to serve a copy of the application and any supporting declaration
  25   on the Designating Party the same day the motion is filed, so that the Designating
  26   Party may, within four days, file a declaration that establishes why all or part of the
  27   designated material is sealable.
  28
                                              7
         DEFENDANT BERND BERGMAIR’S APPLICATION FOR LEAVE TO FILE UNDER SEAL MATERIAL
                 DESIGNATED AS CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
Case 2:21-cv-04920-WLH-ADS      Document 434 Filed 08/30/24      Page 9 of 11 Page ID
                                     #:10300



   1         18.   Accordingly, under Local Rule 79-5.2.2, Bergmair has redacted the
   2   designated material in the publicly filed versions of the Bergmair Motion to Dismiss
   3   and exhibits accompanying Declaration of Ronald G. White.
   4         19.   Bergmair is attaching the following to the sealed declaration in support
   5   of this Application:
   6    Exhibit to Sealed                            Description
          Declaration in
   7      Support of this
   8       Application
        A                   Unredacted version of Defendant Bernd Bergmair’s Motion
   9                        to Dismiss the Second Amended Complaint with the
  10                        designated material highlighted
        B                   Excerpts of the Transcript of the Deposition of Bernd
  11                        Bergmair, dated June 15, 2023 (White Decl. Ex. A)
  12    C                   Excerpts of the Transcript of the Deposition of Feras Antoon,
                            dated June 14, 2023 (White Decl. Ex. B)
  13    D                   Excerpts of the Transcript of the Deposition of David
  14                        Tassillo, dated June 16, 2023 (White Decl. Ex. C)
        E                   Excerpts of the Share Purchase Agreement dated January 30,
  15                        2023, as amended on March 15, 2023 (produced as
  16                        Bergmair_Fleites_00002694) (White Decl. Ex. E)
        F                   Share Purchase Agreement dated January 20, 2023 (produced
  17
                            as Tassillo_Fleites_00000851) (White Decl. Ex. F)
  18    G                   Excerpts of the Transcript of the Deposition of Andreas
                            Andreou, dated June 14, 2023 (White Decl. Ex. G)
  19
        H                   Excerpts of the Shareholders’ Agreement, dated October 18,
  20                        2013 (produced as MindGeek_Fleites_00001814) (White
                            Decl. Ex. H)
  21
        I                   Spreadsheet relating to Feras Antoon produced by the
  22                        MindGeek Entity Defendants during jurisdictional discovery
  23                        (produced as MindGeek_Fleites00003003) (White Decl. Ex.
                            I)
  24    J                   Spreadsheet relating to David Tassillo produced by the
  25                        MindGeek Entity Defendants during jurisdictional discovery
                            (produced as MindGeek_Fleites00003006) (White Decl. Ex.
  26                        J)
  27    K                   Excerpts of a MindGeek S.a. r. l. Confidential Information
                            Memorandum,        dated    July    2015      (produced    as
  28                        MindGeek_Fleites00008508) (White Decl. Ex. L)
                                              8
         DEFENDANT BERND BERGMAIR’S APPLICATION FOR LEAVE TO FILE UNDER SEAL MATERIAL
                 DESIGNATED AS CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
Case 2:21-cv-04920-WLH-ADS     Document 434 Filed 08/30/24      Page 10 of 11 Page
                                   ID #:10301



  1    L                  Excerpts of the Feras Antoon’s Responses to Plaintiff’s
                          Request for Admissions, dated June 15, 2023 (White Decl.
  2                       Ex. M)
  3    M                  Excerpts of the David Tassillo’s Responses to Plaintiff’s
                          Request for Admissions, dated June 15, 2023 (White Decl.
  4                       Ex. N)
  5    N                  Excerpts of a spreadsheet produced by the MindGeek Entity
                          Defendants during jurisdictional discovery (produced as
  6                       MindGeek_Fleites00066312) (White Decl. Ex. O)
  7    O                  Declaration of Bernd Bergmair, dated August 30, 2024
                          (White Decl. Ex. P) with the designated material highlighted
  8
            20.   The parties have been served with a copy of this Application today
  9
      through CM/ECF system, and by email, as required by Local Rule 79-5.2.2.
 10
 11
      Dated: August 30, 2024              Respectfully submitted,
 12
 13                                       /s/ Ronald G. White
 14                                       Ronald G. White
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                             9
        DEFENDANT BERND BERGMAIR’S APPLICATION FOR LEAVE TO FILE UNDER SEAL MATERIAL
                DESIGNATED AS CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
Case 2:21-cv-04920-WLH-ADS     Document 434 Filed 08/30/24       Page 11 of 11 Page
                                   ID #:10302



  1                            CERTIFICATE OF SERVICE
  2         The undersigned, the counsel of record for Bernd Bergmair, certifies that the
  3   foregoing instrument was served pursuant to the Federal Rules of Civil Procedure
  4   on August 30, 2024 upon all counsel of record via email.
  5   Dated: August 30, 2024                Respectfully submitted,
  6
  7                                        /s/ Ronald G. White
                                           RONALD G. WHITE
  8                                        (admitted pro hac vice)
  9                                        rwhite@wmhwlaw.com
                                           Walden Macht Haran & Williams LLP
 10                                        250 Vesey Street
 11                                        New York, NY 10281
                                           Tel: (212) 335-2387
 12                                        Fax: (212) 335-2040
 13
                                           DAN MARMALEFSKY (CA SBN 95477)
 14                                        DMarmalefsky@mofo.com
 15                                        Morrison & Foerster LLP
                                           707 Wilshire Boulevard
 16                                        Los Angeles, California 90017-3543
 17                                        Telephone: 213-892-5200
                                           Facsimile: 213-892-5454
 18
 19                                        Attorneys for Defendant Bernd Bergmair

 20
 21
 22
 23
 24
 25
 26
 27
 28
                                            10
        DEFENDANT BERND BERGMAIR’S APPLICATION FOR LEAVE TO FILE UNDER SEAL MATERIAL
                DESIGNATED AS CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
